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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                             Case No. 21-CR-303 (ABJ)

 DEBORAH LYNN LEE,

      Defendant.

             GOVERNMENT’S RESPONSE TO COURT’S JULY 1, 2024 ORDER

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s July 1, 2024 Minute

Order issued subsequent to the decision in Fischer v. United States, 603 U.S. ___, 2024 WL

3208034 (June 28, 2024). The Court ordered that the Government state its position on how Fischer

affects this case.

                                BRIEF PROCEDURAL HISTORY

          On April 5, 2023, Lee was indicted on five counts, including Count One: 18 U.S.C. §

1512(c)(2) and 2. Current defense counsel, William Shipley Jr., withdrew from the case on April

8, 2023. On August 25, 2023, the Court set a trial date for May 20, 2024.

          On April 10, 2024, current defense counsel filed a motion to substitute back onto the

case. The Court granted this motion and reset the trial for September 4, 2024. The Court

scheduled the following: Joint Pretrial Statement by July 19, Exhibits by July 22, and Pretrial

Conference on July 31.

                                             FISCHER

          Fischer was litigated through the D.C. Circuit and ultimately the Supreme Court, which

issued its decision on Friday, June 28, 2024. In Fischer, the Supreme Court held that Section
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1512(c) does not cover “all means of obstructing, influencing, or impeding any official

proceeding.” Op. 8. However, the Court did not reject the application of § 1512(c)(2) to January 6

prosecutions. Rather, the Court explained that the government must establish that the defendant

impaired the availability or integrity for use in an official proceeding of records, documents,

objects, or other things used in the proceeding – such as witness testimony or intangible

information – or attempted to do so. Id. at 9, 16. The Supreme Court remanded the case to the D.C.

Circuit for further proceedings. Id. Through those further proceedings, the court of appeals will

interpret the scope of the statute further, which may include circumstances like the defendant,

where the defendant intended to stop the certification proceeding and affect the voting and

balloting underlying the certification. See Op. 16 (delineating that it would still remain a crime to

attempt to impair the integrity of availability of records, documents, objects, or other things used

in the proceeding); id. at 8 (Jackson, J., concurring) (“And it might well be that Fischer’s conduct,

as alleged here, involved the impairment (or the attempted impairment) of the availability or

integrity of things used during the January 6 proceeding”).

       Given the remand to the Circuit and the ongoing litigation in Fischer, the government is

still evaluating Fischer’s impact on this and other January 6 cases. The government therefore

respectfully requests that the Court postpone the remaining pretrial deadlines by four weeks to

allow the government time to assess its evidence in light of Fischer ahead of the September 4,

2024 trial date.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                              By:     /s/ Tighe Beach_______
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                                                      CO Bar No. 55328
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